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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                                  Cr. File No. 08-118 (PAM/AJB)

                             Plaintiff,
v.                                                      MEMORANDUM AND ORDER

Nou Chang, et al.

                             Defendants.


         This matter is before the Court on Defendants’ Objections to the Report and

Recommendation (“R&R”) issued by Magistrate Judge Arthur J. Boylan on Motions to

Sever.1 The statute requires the Court to review de novo a magistrate judge’s decisions on

dispositive issues. 28 U.S.C. § 636(b)(1). Having conducted the required review, the Court

overrules the objections and affirms the Magistrate Judge.

DISCUSSION

         Defendants argue that Magistrate Judge Boylan erred in determining that joinder of

Defendants was proper. They further assert that, even if joinder was appropriate in the first

instance, Magistrate Judge Boylan erred in concluding that Defendants failed to demonstrate

the prejudice required for severance under Fed. R. Crim. P. 14.




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     Six Defendants filed Motions to Sever. Only Defendants Vang and Lin objected to
the R&R’s conclusion that severance is not warranted. In addition, the R&R determined
that Defendant Toua Xiong’s Motion to Suppress (Docket No. 270) should be denied.
Defendant Xiong did not file objections to the R&R, and thus the Court will adopt that
portion of the R&R without further comment.
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       A.     Joinder under Rule 8(b)

       The R&R noted that the preference in the federal system is for joint trials of

defendants who are indicted together. (R&R at 4 (citing Zafiro v. United States, 506 U.S.

534, 537 (1993)).) Defendants contend that the Magistrate Judge erred by failing to consider

the Eighth Circuit Court of Appeals’ conclusion that joinder is appropriate when all joined

defendants knew about and participated in the conspiracy alleged in the indictment. See

United States v. Saszensky, 833 F.2d 741, 745 (8th Cir. 1987). According to Defendants,

there is no evidence that the Defendants knew about the other participants in the alleged

marriage-fraud ring.

       Although Defendants’ knowledge is an important inquiry in evaluating the propriety

of joinder, it is not the only the inquiry. Joinder is also proper if there is a “factual

interrelationship among the joined defendants and counts.” United States v. Matus-Beyliss,

No. 4:08-cr-28, 2008 WL 2568271, at *2 (E.D. Mo. Jun. 24, 2008) (citing United States v.

Bledsoe, 674 F.2d 647, 656-57 (8th Cir. 1982)). Here, there is a factual interrelationship

among the defendants and the counts in the indictment. As in Matus-Beyliss, “[a]ll of the

defendants are charged with [essentially] the same offense, occurring over the same period

of time and arising out of essentially the same set of operative facts.” Id. Moreover, “rarely,

if ever will it be improper for co-conspirators to be tried together.” United States v.

Stephenson, 924 F.2d 753, 761 (8th Cir. 1991). The Magistrate Judge correctly concluded

that joinder was proper.

       B.     Severance under Rule 14

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       Where joinder is otherwise proper, the Court should grant severance “only if there is

a serious risk that a joint trial would compromise a specific trial right of one of the

defendants.” Zafiro, 506 U.S. at 539. Defendants contend that, because of the large number

of defendants in this matter, it will be difficult for a jury to separate the defendants and the

trial will be unnecessarily lengthy.

       Of the 43 individuals originally indicted, nearly 20 have pled guilty and many more

are fugitives. It appears that only 6 or 7 individual Defendants will ultimately proceed to

trial. This number is not so large and the facts of the conspiracy are not so complex that a

jury will be unable to separate one Defendant from another. The prejudice to which

Defendants point is prejudice that can be eliminated with appropriate limiting instructions

to the jury. See Saszensky, 833 F.2d 745-46 (noting that district courts should consider

factors such as limiting instructions in evaluating prejudice to joined defendant). A trial of

6 or 7 co-Defendants will not be so lengthy as to prejudice any one Defendant. The Court

agrees with the Magistrate Judge that a joint trial will be a more efficient use of the Court’s

resources. (See R&R at 7.) Defendants have failed to establish that a severance is required.

CONCLUSION

       For the foregoing reasons, and on all the files, record, and proceedings herein, IT IS

HEREBY ORDERED that:

       1.     Defendants’ Objections (Docket Nos. 348, 350) are OVERRULED;

       2.     The Report and Recommendation (Docket Nos. 337, 338, 339, 340, 341) is

              ADOPTED;

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      3.     Defendant Mingwen Yang’s (2) Motion to Sever (Docket No. 280) is

            DENIED;

      4.    Defendant Kaneeka Chanthavong’s (3) Motion to Sever (Docket No. 290) is

            DENIED;

      5.    Defendant Chue Dou Vang’s (11) Motion for Severance (Docket No. 173) is

            DENIED;

      6.    Defendant Guangpin Lin’s (23) Motion for Separate Trial (Docket No. 298)

            is DENIED;

      7.    Defendant Toua Xiong’s (28) Motion for Severance (Docket No. 268) is

            DENIED; and

      8.    Defendant Toua Xiong’s (28) Motion for Suppression (Docket No. 270) is

            DENIED.




Dated: August 11, 2008

                                            s/Paul A. Magnuson
                                            Paul A. Magnuson
                                            United States District Court Judge




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